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   8                         UNITED STATES DISTRICT COURT
  9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10
  1 1 GERARDO ORTEGA,AND MICHAEL
                                                    CASE NO.07-CV-08336-RGK-AFM
  12 D. PATTON,individually and on behalf of       (Hon. R. Gary Klausner)
      themselves, all others similarly situated,
  13 and the general public,
                                                   [         ]ORDER GRANTING
  14         Plaintiffs,                           PLAINTIFFS' UNOPPOSED
  15                                               MOTION FOR PRELIMINARY
       v.
  16                                               APPROVAL OF CLASS ACTION
    J. B. HUNT TRANSPORT,INC., an                  SETTLEMENT
 17 Arkansas   corporation; and DOES 1 to 100,
    inclusive,
 18
                   Defendants.
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        [Proposed] Order Granting Motion for Preliminary Approval of Class Action Settlement
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      1         This matter came on for hearing on October 29, 2018, upon the Motion for
   2 Preliminary Approval of the proposed settlement of this action on the terms set forth
   3 in the Class Action Settlement and Release ("Settlement"), attached hereto as Exhibit
   4 1. Having considered the Settlement, all papers and proceedings held herein, and
   5 having reviewed the entire record in this action ("Action"), and good cause appearing,
  6 the Court finds that:
  7             WHEREAS, Plaintiffs Gerardo Ortega and Michael Patton ("Plaintiffs") have
  8 alleged claims against defendant J.B. Hunt Transport, Inc.("Defendant") on behalf of
  9 themselves and on behalf of others similarly situated, comprising all of Defendant's
  10 California-based, local and regional intermodal and local and regional Direct Contract
  11 Services drivers employed by Defendant at any time between November 19, 2003 and
  12 ~ December 8, 2018. The definition excludes over the road drivers;
  13            WHEREAS, Plaintiffs assert claims against Defendant for: (1) violations of
 14 Labor Code sections 226.7 and 512, and section 11 of the Industrial Welfare
 15 Commission (IWC) Wage Orders (failure to provide a meal period);(2) violations of
 16 Labor Code sections 226.7 and 512, and section 12 of the IWC Wage Orders (failure
 17 to provide a rest period);(3) violations of Labor Code section 226 (failure to provide
 18 accurate wage statements);(4) violations of Labor Code section 1194 (failure to pay
 19 California minimum wage);(5) violations of Labor Code sections 221 to 223 (failure
 20 to pay wages at the agreed rate);(6) violations of Labor Code section 203 (failure to
 21 pay wages due upon termination of employment);(7) violations of the Business and
 22 Professions Code, section 17200 et seq.; and (8) violations of the Labor Code Private
 23 Attorneys General Act of 2004 ("PAGA"), California Labor Code section 2698 et
 24 seq.;
 25            WI~REAS, Defendant expressly denies the allegations of wrongdoing and
 26 violations of law alleged in this Action, and further denies any liability whatsoever to
 27 Plaintiffs or to the Settlement Class Members;
 28
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               WHEREAS, without admitting any liability, claim, or defense, Plaintiffs and
   2 Defendant (collectively, the
                                  "Parties") determined that it was mutually advantageous
       to settle this Action and to avoid the costs, delay, uncertainty, and business disruption
   ,_ , of ongoing
                   litigation; and
               WHEREAS, the Parties agreed to resolve the Action and entered into the
  6 Settlement in and about October 2018, which provides for a complete
                                                                        dismissal, with
  7 prejudice, of the claims asserted
                                      in the Action against Defendant on the terms and
  8 conditions set forth in the
                                     Settlement, subject to the approval of this Court;
  9            IT IS HEREBY ORDERED,ADJUDGED,AND DECREED THAT:
  10           1.   To the extent defined in the Settlement, attached hereto as Exhibit 1 and
  1 1 incorporated herein by reference, the terms in this Order shall have the meanings set
  12 forth therein.

  13           2.   The Court has jurisdiction over the subject matter of this Action,
 14 ~ Defendant, and the Settlement Class.

 15          3.     The Settlement is within the range of reasonableness and possible final
 16 approval in that it appears fair, reasonable, and adequate. The Settlement was reached

 17 as a result of extensive arm's-length negotiations between the Parties and their

 18 counsel, which included two separate mediation sessions. Additionally, before

 19 entering into the Settlement, this Action was on the eve of trial. Thus, Plaintiffs and

 20 their counsel had sufficient information to evaluate the strengths and weaknesses of

 21 ~ the case and to conduct informed settlement discussions.

 22         4.      The Court deems the Proposed Second Amended Complaint, attached to 'I
 23 the Stipulation filed concurrently herewith (Dkt. 348-1), as filed as of the date of this

 24 ~ Order.

 25         5.      The Court provisionally certifies, for settlement purposes only, a
 26 Settlement Class defined as: "All California-based, local and regional intermodal and

 27 local and regional Dedicated Contract Services drivers employed by J.B. Hunt at any

 28                                                 3
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        time between November 19, 2003 and December 8, 2018."
   2          6.     The requirements for certification of the Settlement Class under Fed. R.
        Civ. P. 23(a), and (b)(3) have been satisfied for settlement purposes. The Court finds,
   ~~ for settlement purposes, that: (a) the Settlement Class is defined by objective criteria
      and ascertainable;(b) the numerosity requirement is satisfied;(c) there are questions
   6 of law and fact that are common to the Settlement Class, and those questions of law
   7 and fact common to the Settlement Class predominate over any questions affecting
   8 any individual Settlement Class Member;(d)the claims of the Plaintiffs are typical of
   9 the claims of the Settlement Class they seek to represent for purposes of settlement;
     (e) a class action is superior to other available means of adjudicating this dispute;(fl
  to
      and Plaintiffs and Class Counsel are adequate representatives ofthe Settlement Class.
  11
              7.     The Court hereby grants preliminary approval of the Settlement as fair,
  12
        reasonable, and adequate in all respects to the Settlement Class Members, and orders
  13
       ~ the Parties to consummate the Settlement in accordance with the terms of the
 14
       Settlement.
 15
              8.     The Court preliminarily appoints as Class Counsel the following
 16
       attorneys: Marlin &Saltzman LLP (Stanley D. Saltzman and Adam M. Tamburelli),
 17
       29800 Agoura Road Suite 210, Agoura Hills, California 91301; and The Cullen Law
 18
       Firm, APC (Paul T. Cullen and Barbara Duvan-Clarke), 19360 Rinaldi Street #647,
 19
       ~ Porter Ranch, California 91326;
 20
              9.     The Court preliminarily appoints Plaintiffs Gerardo Ortega and Michael
 21
       Patton as settlement class representatives.
 22
              10.    The Court finds that the Class Notice, set forth in E~ibit A to the
 23
       Settlement attached hereto, to be given to the Settlement Class Members, fully and
 24
       accurately informs all persons in the Settlement Class of all material elements of the
 25
       proposed Settlement, constitutes the best notice practicable under the circumstances,
 26
       and constitutes valid, due, and sufficient notice to all Settlement Class Members.
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 28                                              4
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      1          11.   The Court preliminarily approves the plan of distribution as set forth in
   2 the Settlement providing for the distribution
                                                   of the Net Settlement Amount to
   3 Settlement Class Members, as being fair,
                                                    reasonable, and adequate.
   4             12.   In the event that the Settlement does not become effective in accordance
   5 with the terms of the Settlement, then this
                                                 Preliminary Approval Order shall be
   6 rendered null and void to the extent provided by
                                                                   and in accordance with the
   7 Settlement and shall be vacated, and, in such
                                                     event, all orders entered and releases
   8 delivered in connection herewith shall be null and
                                                              void to the extent provided by and
   9 in accordance with the Settlement, and each party shall
                                                             retain his, her or its rights to
  10 proceed with litigation ofthe Action.

  11            13.    The Court will hold a Fairness Hearing on February 11, 2019 at 9:00 a.m.
  12 to determine whether the Settlement
                                         should be approved as fair, reasonable, and
  13 adequate, and to determine whether a Final
                                                          Order and Final Judgment should be
 14 entered. The Fairness Hearing will be held at
                                                  the United States District Court for the
 15 Central District of California, Edward R. Roybal Federal
                                                             Building, 255 Temple Street,
 16 Los Angeles, CA 90012 -Courtroom 850.

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 18 IT IS SO ORDERED.

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 21 ~ DATED:
                                                Hon. Ga Klausner
 22
                                                Unite States District Judge
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          [Proposed] Order Granting Motion for Preliminary Approval of Class Action Settlement
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